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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------x
KLAUBER BROS., INC.                :
                                   :
     Plaintiff,                    :
                                   :             20-cv-1672 (JSR)
          -v-                      :
                                   :                  ORDER
TARGET CORP., et al.,              :
                                   :
     Defendants.                   :
                                   :
-----------------------------------x
JED S. RAKOFF, U.S.D.J.

     Plaintiff     Klauber   Brothers,    Inc.    (“Klauber”)    filed    its

complaint in this action on February 25, 2020 against five named

defendants and ten unnamed Doe defendants, alleging that the

defendants infringed Klauber’s copyrights in certain lace designs

used in garments. Klauber previously sought to voluntarily dismiss

its claims against three of the five named defendants, which

requests the Court granted.

     On November 13, 2020, Klauber and one of the two remaining

named   defendants,     Notations,    Inc.,   filed     a   stipulation   of

voluntary dismissal by which they agreed that Klauber’s claims

against Notations, Inc. would be dismissed with prejudice.                The

stipulation states, “Per Fed. R. Civ. P. 4l(a)(l)(A), no order is

required on this dismissal.”         ECF No. 61.      The Court disagrees.

The stipulation does not dismiss the action as against a defendant

who has not answered, see Fed. R. Civ. P. 41(a)(1)(A)(i), and it

is not signed by all remaining parties who have appeared, see Fed.


                                      1
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R. Civ. P. 41(a)(1)(A)(ii).          Nevertheless, the Court has authority

to dismiss the action on terms the Court considers proper.                   See

Fed. R. Civ. P. 41(a)(2).            The Court approves the parties’ joint

stipulation and dismisses the action with prejudice as against

Notations, Inc.

       As to the final remaining named defendant, Assael Miller

Clothing Company, LLC, the parties notified the Court on October

23, 2020, that they had reached a settlement and requested 60 days

to    perform    their   respective     obligations   under    the   settlement

agreement.1

       For the foregoing reasons, the case is hereby dismissed with

prejudice, but with leave for Klauber or Assael Miller Clothing

Company, LLC to move within 30 days from the date hereof to reopen

the    case     and   proceed   to   trial   if   settlement   is    not   fully

effectuated.

       SO ORDERED.

Dated:        New York, NY                   _______________________
              November 25, 2020              JED S. RAKOFF, U.S.D.J.




1 Although Klauber’s complaint also lists ten Doe defendants,
Klauber has not amended its complaint to name these defendants and
the deadline to do so has passed. See Civil Case Management Plan,
ECF No. 31.



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